                      No. 2023-1805


              United States Court of Appeals
                  for the Federal Circuit


       UNITED THERAPEUTICS CORPORATION,

                                      Appellant,

                             v.

           LIQUIDIA TECHNOLOGIES, INC.,

                                      Appellee,


 Appeal from the United States Patent and Trademark Office,
   Patent Trial and Appeal Board in No. IPR2021-00406


NOTICE OF CORRECTIONS TO APPELLEE LIQUIDIA
    TECHNOLOGIES, INC.’S RESPONSE BRIEF


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                                  Counsel for Appellee Liquidia
                                  Technologies, Inc.
                        CERTIFICATE OF INTEREST

Counsel for Appellee certifies the following:

   1. The full name of every party represented by me is:

      Liquidia Technologies, Inc.

   2. The name of the real party in interest (if the party named in the caption
      is not the real party in interest) represented by me is:

      None.

   3. All parent corporations and any publicly held companies that own 10
      percent or more of the stock of the party represented by me are:

      Liquidia Corporation

   4. The names of all law firms and the partners or associates that appeared
      for the party now represented by me in the trial court or are expected to
      appear in this court (and who have not or will not enter an appearance
      in this case) are:

      Cooley LLP: Sanya Sukduang, Ivor R. Elrifi, Jonathan Davies, Brittany
      Cazakoff, Erik B. Milch (former), Deepa Kannappan (former)

   5. The title and number of any case known to me to be pending in this or
      any other court or agency that will directly affect or be directly affected
      by this Court’s decision in the pending appeal are:

      United Therapeutics Corporation v. Liquidia Technologies, Inc., Nos. 2022-
      2217, 2023-1021 (Fed. Cir.); originating from United Therapeutics
      Corporation v. Liquidia Technologies, Inc., 1-20-cv-755 (D. Del.)

   6. Any information required under Fed. R. App. P. 26.1(b) (organizational
      victims in criminal cases) and 26.1(c) (bankruptcy case debtors and
      trustees):

      None.



Dated: November 1, 2023                           /s/ Sanya Sukduang
                                                  Sanya Sukduang

                                         i
      On October 20, 2023, Appellant filed a Corrected Opening Brief and Motion

for Leave to File a Corrected Opening Brief (D.I. 38-39), which the Court granted

on October 24. (D.I. 43.) Appellant’s Corrected Opening Brief removed words from

its background section, resulting in page number shifts that affected cites in

Appellee’s Response Brief. Accordingly, pursuant to Federal Circuit Rule 25(i)(3),

Appellee Liquidia Technologies, Inc. notices the following corrections to Appellee’s

Response Brief filed September 6, 2023 (D.I. 21) made to correct cites to Appellant’s

Opening Brief as well as typographical errors that do not impact the substance of

Appellant’s brief:


 Page Corrected:               Original:                     Changed to:

       Cover          Appellee Liquidia             Appellee Liquidia
                      Technologies, Inc.’s          Technologies, Inc.’s
                      Response Brief                Corrected Response Brief

         i.           Cooley LLP: Sanya             Cooley LLP: Sanya
                      Sukduang, Erik B. Milch,      Sukduang, Ivor R. Elrifi,
                      Ivor R. Elrifi, Jonathan      Jonathan Davies, Brittany
                      Davies, Deepa Kannappan,      Cazakoff, Erik B. Milch
                      Brittany Cazakoff             (former), Deepa Kannappan
                                                    (former)

         18           BB51-52                       BB49-50

         19           BB52-71                       BB50-69

         29           BB32-39                       BB30-37

         29           Appx330                       Appx0330

         29           BB20                          BB18-19


                                           1
Page Corrected:          Original:              Changed to:

      30          BB36                   BB34

      31          BB34                   BB32-33

      32          BB34                   BB32-33

      35          BB33, 35-36            BB31, 34

      35          BB36                   BB34

      36          BB38                   BB36

      37          BB39-44                BB37-42

      38          BB39-43                BB37-41

      38          BB40, 42               BB38, 40

      40          Appx7683               Appx7682

      41          BB39-44                BB37-42

      41          BB43-44                BB41-42

      42          BB40-41                BB38-39

      42          BB40-41                BB38-39

      44          BB44-46                BB42-44

      44          BB46-47                BB44-45

      44          BB45                   BB43

      46          BB47                   BB45-46

      46          BB47                   BB45-46

      46          BB48-49                BB46-47

      47          BB49-50                BB48



                                     2
Page Corrected:          Original:              Changed to:

      47          BB50-51                BB48-49

      48          BB51-52                BB49-50

      49          BB51-52                BB49-50

      51          BB53-71                BB50-69

      54          BB53                   BB51

      54          BB53-58                BB51-56

      55          BB56                   BB54

      55          BB56-57                BB54-55

      56          BB59                   BB57

      58          BB59-60                BB57-58

      59          BB62                   BB59-60

      59          BB62-63                BB59-61

      60          BB64-71                BB62-69

      60          BB64-68                BB62-66

      61          BB64                   BB62

      62          BB69                   BB67

      62          BB70                   BB68

      62          BB69-70                BB67-68




                                     3
Dated: November 1, 2023   Respectfully submitted,

                          /s/ Sanya Sukduang
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                          Jonathan R. Davies
                          Brittany Cazakoff
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                          Counsel for Appellee
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                            4
                     CERTIFICATE OF COMPLIANCE

      The foregoing filing complies with the type-volume limitation of Federal Rule

of Appellate Procedure 27(d) and 32(a) and has been prepared using a

proportionally-spaced typeface and includes 214 words.



Dated: November 1, 2023                     /s/ Sanya Sukduang
                                            Sanya Sukduang
                                            Cooley LLP

                                            Counsel for Appellee
                                            Liquidia Technologies, Inc.
